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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

            RONALD DRAUGHN,
                                                    Case No. 15-cv-14446
                 Plaintiff,
                                               UNITED STATES DISTRICT COURT
                     v.                                   JUDGE
                                                    GERSHWIN A. DRAIN
        MICHAEL BOUCHARD, ET AL.
                                              UNITED STATES MAGISTRATE JUDGE
                Defendants.                      STEPHANIE DAWKINS DAVIS

  ______________________________/

       ORDER ACCEPTING AND ADOPTING REPORT AND
  RECOMMENDATION [#112] GRANTING DEFENDANTS’ MOTION FOR
               SUMMARY JUDGMENT [#97]

       This matter is before the Court on Defendants’ Motion for Summary

 Judgment. Dkt. No. 97. This Court referred the matter to Magistrate Judge

 Stephanie Dawkins Davis, who issued a Report and Recommendation on August

 24, 2018, recommending that the Court grant Defendants’ Motion for Summary

 Judgment. Dkt. No. 112, pg. 38 (Pg. ID 1084). Neither party has filed objections to

 the Magistrate Judge’s Report and Recommendation, and the time for filing

 objections has expired. See 28 U.S.C. § 636(b)(1)(C). Upon review of the parties’

 briefing and the Magistrate Judge’s Report and Recommendation, the Court

 concludes that the Magistrate Judge reached the correct conclusion. Therefore, the

 Court hereby ACCEPTS and ADOPTS Magistrate Judge Davis’s August 24, 2018


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 Report and Recommendation [#112] as this Court’s findings of fact and

 conclusions of law. Defendant’s Motion for Summary Judgment is GRANTED.

       SO ORDERED.


 Dated:      September 24, 2018
                                              s/Gershwin A. Drain
                                              HON. GERSHWIN A. DRAIN
                                              United States District Court Judge




                          CERTIFICATE OF SERVICE
 I hereby certify that a copy of the foregoing document was mailed to the attorneys
 of record on this date, September 24, 2018, by electronic and/or ordinary mail.

                                       s/Julie Owens
                                       Case Manager




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